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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

                                                :
 SARAH EDMONDSON, et al.,                       :
                                                :
                       Plaintiffs,              :
                                                :   CIVIL ACTION NO. 20-CV-485-EK-CLP
        v.                                      :
                                                :
 KEITH RANIERE, et al.                          :
                                                :
                       Defendants.              :



                STIPULATION AND [PROPOSED] PROTECTIVE ORDER

        Whereas, pursuant to Rule 26(c) of the Federal Rules of Civil Procedures, the Parties have

 stipulated to the following Protective Order (“Order”) limiting the disclosure and use of certain

 information produced during discovery as hereinafter provided.

        Accordingly, it is this ____ day of ________________, ____, by the United States District

 Court for the Eastern District of New York, ORDERED:

 1.     SCOPE

        All materials produced or adduced in the course of discovery, including but not limited to

 initial disclosures, documents and things produced in response to discovery requests, answers to

 interrogatories, answers to requests for admission, deposition testimony and exhibits, expert

 reports and disclosures, pretrial disclosures, and information derived directly therefrom

 (hereinafter collectively “Discovery Material”), shall be subject to this Order concerning

 Confidential Information and Highly Confidential Information as defined below. This Order is

 subject to the Local Rules of this Court and the Federal Rules of Civil Procedure on matters of

 procedure and calculation of time periods.
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        The restrictions set forth herein shall not apply to documents or information designated

 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” that were, are, or become public

 knowledge, not in violation of this Order. Before such documents are publicly released, a Party

 will follow the procedures described in Paragraph 9 (“Notification of Confidentiality Order”).

 2.     DEFINITIONS

        In this Order, the words set forth below shall have the following meanings:

        (A)     “Confidential Information” means information that falls within one or more of the

 following categories: (i) contain or are derived from trade secrets or other proprietary commercial

 or financial information; (ii) are prohibited from disclosure by statute; (iii) medical information

 concerning any individual; (iv) personally identifying information; (v) private information about

 an individual that that, if made public, would subject the individual to annoyance, embarrassment,

 or oppression; (vi) income tax returns (including attached schedules and forms), (vii) W-2 forms

 and 1099 forms; or (viii) personnel or employment records.

        (B)     “Highly Confidential Information” means Confidential Information that is either of

 such a highly sensitive nature that disclosure of such information may result in substantial

 commercial or financial harm to a Party or its employees or customers, or is such a highly personal

 nature that it may expose a Party to risk of harm.

        (C)     “Designating Party” means the Party or Non-Party that designates Discovery

 Material as Confidential or Highly Confidential.

        (D)     “Electronically Stored Information,” “Electronic Data,” or “ESI" means

 information stored or recorded in the form of electronic media (including information, files or

 databases stored on any digital or analog machine-readable device, computers, discs, networks or




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 tapes), synonymous in meaning and equal in scope to the usage of this term in Fed. R. Civ. P. 26

 and 34.

           (E)   “Non-Party” means any individual or entity that is not a named Plaintiff or

 Defendant in this action.

           (F)   “Party” means Plaintiffs and Defendants in this Litigation, collectively the

 “Parties.”

           (G)   “Producing Party” means the Party producing Discovery Material in response to

 the request of Requesting Party.

           (H)   “Protected Material” means information that has been designated as

 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.”

           (I)   “Receiving Party” means the Party receiving production of Discovery Material.

           (J)   “Requesting Party” means the Party requesting production of Discovery Material.

           (K)   “Competitor” means any individual or business entity that offers a competing

 product or service to a Designating Party, such that disclosure of Confidential Information or

 Highly Confidential Information of the Designating Party to the Competitor could reasonably

 result in harm to the Designating Party’s financial, competitive or business interests. The definition

 of Competitor includes all employees, agents, subsidiaries and parent companies.

 3.        DESIGNATION

           (A)   Documents: A Party or Non-Party may designate Discovery Material for protection

 under this Order by placing or affixing the words “CONFIDENTIAL” or “HIGHLY

 CONFIDENTIAL” on the Discovery Material and on all copies in a manner that will not interfere

 with the legibility of the document. As used in this Order, “copies” includes electronic images,

 duplicates, extracts, summaries or descriptions that contain the Confidential Information. Marking



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 Discovery Material as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” does not mean that

 the Discovery Material has any status or protection by statute or otherwise except to the extent and

 for the purposes of this Order. Any copies that are made of any Discovery Material marked

 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” shall also be so marked, except that indices,

 electronic databases or lists of documents that do not contain portions or images of the text of

 marked documents and do not otherwise disclose the substance of the Confidential Information

 are not required to be marked.

        (B)     Depositions: Deposition transcripts (including exhibits) that contain Confidential

 Information or Highly Confidential Information shall be deemed Confidential or Highly

 Confidential only if they are designated as such when the deposition is taken or within fourteen

 business days after receipt of the transcript. Any testimony which describes Discovery Material

 which has been designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL,” as described

 above, shall also be deemed to be designated as “CONFIDENTIAL” or “HIGHLY

 CONFIDENTIAL.” The entire deposition transcript (including exhibits) shall be treated as Highly

 Confidential under this Order until the expiration of the 14-day period for designation by letter,

 except that the deponent may review the transcript during this 14-day period. If all or part of a

 videorecorded deposition is designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL,”

 the DVD or other recording container, shall be labeled with these legends.

        (C)     Electronic Data: The Designating Party will designate ESI as “CONFIDENTIAL”

 or “HIGHLY CONFIDENTIAL” in a cover letter identifying the information generally. When

 feasible, the Designating Party will also mark the electronic media with the appropriate

 designation, and if possible, will mark each page of the ESI with the appropriate

 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” legend. Whenever any Party to whom ESI



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 designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” is produced reduces such

 material to hardcopy form, such Party shall mark such hardcopy form with the legends provided

 for in Paragraph 3(A) above. Whenever any ESI designated as “CONFIDENTIAL” or “HIGHLY

 CONFIDENTIAL” is copied into another file, all such copies shall also be marked

 “CONFIDENTIAL” or "HIGHLY CONFIDENTIAL," as appropriate.

         (D)     To the extent that any Party or counsel for any Party creates, develops or otherwise

 establishes on any digital or analog machine-readable device, recording media, computers, discs,

 networks or tapes any information, files, databases or programs that contain information

 designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL,” that Party and its counsel

 must take reasonable steps to insure that access to that electronic media is properly restricted to

 those persons who, by the terms of this Order, may have access to Confidential Information and

 Highly Confidential Information.

         (E)     The   designation       of   information   as   “CONFIDENTIAL”      or   “HIGHLY

 CONFIDENTIAL” shall constitute a certification by an attorney or a Party appearing pro se that

 such document, material, or information has been reviewed and that the Designating Party has a

 good faith basis for the designation.

         (F)     A person receiving Protected Material shall not use or disclose the information

 except for the purposes set forth in this Order or by such orders as may be issued by the Court

 during the course of this litigation.

         (G)     The Parties anticipate that Discovery Material will be reviewed for applicability of

 these categories and designations of Confidential or Highly Confidential will not be applied to all

 Discovery Material simply because they are produced in relation to the current litigation.




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 4.     PROTECTION OF PROTECTED MATERIAL

        (A)      General Protections. Protected Material shall not be used or disclosed by the

 Parties, counsel for the Parties or any other persons identified in subparagraphs (B) and (C) for

 any purpose other than in this litigation, including any appeal thereof. In no event shall Protected

 Material be used for any business, competitive, personal, private, public, or other purposes, except

 as required by law.

        (B)      Disclosure of Confidential Information. Except with the prior written consent of

 the Designating Party or upon order of this Court, information designated as “CONFIDENTIAL”

 may only be disclosed to the following persons:

                i.      Counsel. Attorneys and legal staff of law firms who are counsel of record

 in this action. Any such attorney or staff to whom counsel for the Parties makes a disclosure

 shall be provided with a copy of, and become subject to, the provisions of this Order requiring

 that the documents and information be held in confidence;

               ii.      Parties. Individual Parties and employees of a Party but only to the extent

 counsel determines in good faith that the employee’s assistance is reasonably necessary to

 advance this litigation;

              iii.      The Court and its Personnel. The Court and its personnel, and any

 appellate court and court personnel;

              iv.       Mediators or arbitrators. Disclosures may be made to mediators and

 arbitrators and their staff, as engaged by the Parties or appointed by the Court, provided that,

 prior to disclosure, any such mediator, arbitrator or their staff is provided with a copy of, and

 becomes subject to, the provisions of this Order by executing the Acknowledgment and

 Agreement (Attachment A) stating that he or she has read this Protective Order and agrees to be



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 bound by its terms;

               v.        Court Reporters and Recorders. Court reporters and recorders engaged for

 depositions, hearings, or other relevant proceedings, provided that, prior to disclosure, any such

 court reporter or recorder is provided with a copy of, and becomes subject to, the Provisions of

 this Order by executing the Acknowledgment and Agreement (Attachment A) stating that he or

 she has read this Protective Order and agrees to be bound by its terms;

              vi.        Document Vendors. Those persons specifically engaged for the purpose

 of making copies of documents or organizing, hosting or processing documents, which includes

 hosting, processing and sub-processing using “cloud-based” technology, provided however that

 all third parties have agreed to maintain the confidentiality of any documents they receive

 consistent with this Order and that document storage, hosting, and processing is done in a secure

 manner with commercially reasonable safeguards to prevent unauthorized access, provided that,

 prior to disclosure, any such vendor is provided with a copy of, and becomes subject to, the

 Provisions of this Order by executing the Acknowledgment and Agreement (Attachment A)

 stating that he or she has read this Protective Order and agrees to be bound by its terms;

             vii.        Consultants and Experts. Consultants, investigators, or experts employed

 by the Parties or counsel for the Parties to assist in the preparation and trial of this action but only

 after such persons have completed the certification contained in the Acknowledgment and

 Agreement (Attachment A);

            viii.        Authors and Recipients. The Designating Party, any current employee of

 a Designating Party, or any other person who, as appears from the face of the Discovery Material,

 authored, received, or otherwise has been provided access to (in the ordinary course, outside this

 litigation) the Protected Material sought to be disclosed to that person;


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              ix.       Non-Party Witnesses. In connection with any deposition, hearing or trial,

 any witness not otherwise entitled to receive Confidential Information may be provided such

 information if reasonably necessary, provided that prior to furnishing such Confidential

 Information to such witness, the witness shall execute the Acknowledgment and Agreement

 (Attachment A) stating that he or she has read this Protective Order and agrees to be bound by its

 terms. However, if the Non-Party witness is a Competitor, then the Party wishing to make such

 disclosure shall provide notice and an opportunity to meet and confer with the Designating Party

 to discuss the procedures for the treatment of Highly Confidential Information, with all Parties

 reserving their rights to apply to the Court for further protections. A Party that wishes to disclose

 Confidential Information to such Non-Party witness over the objections of the Designating Party

 may seek an order of the Court, supported by a showing of the need to disclose the Confidential

 Information, and accompanied by a certification that the Party seeking disclosure has attempted

 to reach agreement on disclosure with the Designating Party. A person opposing disclosure would

 thereafter have an opportunity to respond within five (5) business days, after which the Court will

 determine the conditions under which any disclosure is permitted;

              x.        Mock Jurors and Focus Group Participants. Professional jury or trial

 consultants including mock jurors and focus group participants who have signed a confidentiality

 agreement such as that annexed as Acknowledgment and Agreement (Attachment A), provided,

 however, that any such person shall not be permitted to retain any Protected Material;

              xi.       Any other person to whom the Designating Party agrees in writing or on

 the record in advance of the disclosure, provided that Paragraph 9 of this Protective Order has

 been complied with; and

             xii.       Any other person whom the Court directs should have access to the Highly


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 Confidential Information.

         (C)        Disclosure of Highly Confidential Information. Except with the prior written

 consent of the Designating Party or upon order of this Court, information designated as “HIGHLY

 CONFIDENTIAL” may only be disclosed to the following persons:

                   i.     Counsel. Attorneys and legal staff of law firms who are counsel of record

 in this action;

                ii.       Document Vendors. Those persons specifically engaged for the purpose

 of making copies of documents or organizing, hosting or processing documents, which includes

 hosting, processing and sub-processing using “cloud-based” technology, provided however that

 all third parties have agreed to maintain the confidentiality of any documents they receive

 consistent with this Order and that document storage, hosting, and processing is done in a secure

 manner with commercially reasonable safeguards to prevent unauthorized access, provided that,

 prior to disclosure, any such vendor is provided with a copy of, and becomes subject to, the

 Provisions of this Order by executing the Acknowledgment and Agreement (Attachment A)

 stating that he or she has read this Protective Order and agrees to be bound by its terms;

               iii.       Consultants and Experts. Consultants, investigators, or experts employed

 by the Parties or counsel for the Parties to assist in the preparation and trial of this action but only

 after such persons have completed the certification contained in the Acknowledgment and

 Agreement (Attachment A);

               iv.        Authors and Recipients. The Designating Party, any current employee of

 a Designating Party, or any other person who, as appears from the face of the Discovery Material,

 authored, received, or otherwise has been provided access to (in the ordinary course, outside this

 litigation) the Protected Material sought to be disclosed to that person;


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               v.       Court Reporters and Recorders. Court reporters and recorders engaged for

 depositions, hearings, or other relevant proceedings, provided that, prior to disclosure, any such

 court reporter or recorder is provided with a copy of, and becomes subject to, the Provisions of

 this Order by executing the Acknowledgment and Agreement (Attachment A) stating that he or

 she has read this Protective Order and agrees to be bound by its terms;

              vi.       Non-Party Witnesses. In connection with any deposition, hearing or trial,

 any witness not otherwise entitled to receive Highly Confidential Information may be provided

 such information if reasonably necessary, provided that prior to furnishing such Highly

 Confidential Information to such witness, the witness shall execute the Acknowledgment and

 Agreement (Attachment A) stating that he or she has read this Protective Order and agrees to be

 bound by its terms. However, if the Non-Party witness is a Competitor, then the Party wishing to

 make such disclosure shall provide notice and an opportunity to meet and confer with the

 Designating Party to discuss the procedures for the treatment of Highly Confidential Information,

 with all Parties reserving their rights to apply to the Court for further protections. A Party that

 wishes to disclose Highly Confidential Information to such Non-Party witness over the objections

 of the Designating Party may seek an order of the Court, supported by a showing of the need to

 disclose the Highly Confidential Information, and accompanied by a certification that the Party

 seeking disclosure has attempted to reach agreement on disclosure with the Designating Party. A

 person opposing disclosure would thereafter have an opportunity to respond within five (5)

 business days, after which the Court will determine the conditions under which any disclosure is

 permitted;

              vii.      Any other person to whom the Designating Party agrees in writing or on

 the record in advance of the disclosure, provided that Paragraph 9 of this Protective Order has


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 been complied with; and

               viii.         Any other person whom the Court directs should have access to the Highly

 Confidential Information.

         (D)       Control of Documents. Counsel for the Parties shall make reasonable efforts to

 prevent unauthorized or inadvertent disclosure of Protected Material.

 5.      FILING OF PROTECTED MATERIAL

         (A)       To the extent that (i) a Party seeks to file Confidential or Highly Confidential

 material with the Court and believes such information should be filed under seal; or (ii) a Party

 believes that Confidential or Highly Confidential material filed with the Court by another Party

 should be maintained under seal, the Party interested in sealing such information shall make an

 application to the Court. Absent extraordinary circumstances, a Party who seeks to rely on

 Confidential or Highly Confidential material produced by another Party in connection with a filing

 before this Court shall give the Producing Party notice, not less than three days prior to filing, of

 its intent to rely on such materials. The Parties will use their best efforts to minimize applications

 for sealing given the legal presumption against filing documents under seal.

         (B)       Only those portions of such Discovery Material containing or reflecting

 Confidential          Information   or   Highly   Confidential   Information   shall   be    considered

 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” and may be disclosed only in accordance

 with this Order. Where feasible, only those portions of such filings that are Confidential

 Information or Highly Confidential shall be filed under seal.

         (C)       Each document filed under seal may be returned to the Party that filed it under the

 following circumstances: (1) if no appeal is taken, within ninety (90) days after a final judgment

 is rendered, or (2) if an appeal is taken, within thirty (30) days after the ruling of the last reviewing


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 court that disposes of this litigation in its entirety is filed. If the Party that filed a sealed document

 fails to remove the document within the time frame set by the Court or the Clerk, the Clerk may

 destroy the document, return the document to counsel for the Designating Party or the Party that

 filed the sealed document (if not the same as the Designating Party) upon request within two years

 after termination of the litigation, or take any other action to dispose of the document that the Clerk

 deems appropriate.

         (D)     Notwithstanding any provision in this Order to the contrary, any Designating Party

 may determine to reclassify Discovery Material it previously designated as “CONFIDENTIAL”

 or “HIGHLY CONFIDENTIAL” and is not required to file such Discovery Material under seal if

 the previously designated Protected Material was so designated solely by that Party and all other

 Parties are notified of the change in classification at the time such Discovery Material is

 reclassified.

 6.      INADVERTENT FAILURE TO DESIGNATE

         An inadvertent failure to designate Discovery Material as “CONFIDENTIAL” or

 “HIGHLY CONFIDENTIAL” does not, standing alone, waive the right to so designate the

 document as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL,” either as to the specific

 information disclosed or as to any other Discovery Material concerning the same or related subject

 matter. If a Party designates Discovery Material as “CONFIDENTIAL” or “HIGHLY

 CONFIDENTIAL” after it was initially produced, the Receiving Party, on notification of the

 designation, must make a reasonable effort to assure that the Discovery Material is treated in

 accordance with the provisions of this Order. No Party shall be found to have violated this Order

 for failing to maintain the confidentiality of Discovery Material during a time when that Discovery

 Material has not been designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL,” even


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 where the failure to do so was inadvertent and where the material is subsequently designated as

 CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.”

 7.     INADVERTENT DISCLOSURE

        (A)     If a person bound by this Order inadvertently discloses Protected Material to a

 person not authorized to receive that information, or if a person authorized to receive Protected

 Material breaches any obligations under this Protective Order, that person shall immediately give

 notice of the unauthorized disclosure to the Designating Party in writing and provide replacement

 pages bearing the appropriate confidentiality legend.

        (B)     If a person bound by this Order becomes aware of unauthorized disclosure of

 Protected Material by a Non-Party, that person shall immediately give notice in writing of the

 unauthorized disclosure to the Designating Party.

        (C)     Notice in either circumstance described in this section shall include a full written

 description of all facts that are pertinent to the disclosure. The person disclosing the Protected

 Material shall make a reasonable effort to retrieve the information that was disclosed without

 authorization and to limit the further dissemination or disclosure of such information. Persons who

 violate the provisions of this Protective Order shall be subject to sanctions as provided by statute,

 rule, or the inherent power of this Court.

 8.     INADVERTENT DISCLOSURE OF PRIVILEGED INFORMATION

        Nothing herein shall be deemed to waive any applicable common law or statutory privilege

 or work product protection. Moreover, if Discovery Material subject to a claim of attorney-client

 privilege, attorney work product, or any other applicable privilege or immunity or other ground on

 which production of that information should not be made is inadvertently produced, such

 inadvertent production shall in no way prejudice or otherwise constitute a waiver of any claim of


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 attorney-client privilege, work product, or other privilege or immunity. If a claim of inadvertent

 production is made pursuant to this Agreement, the Requesting Party and its representative(s) shall

 (a) refrain from further examination or disclosure of the inadvertently produced Discovery

 Material; (b) promptly return to the Producing Party’s counsel or destroy all copies of that material

 (including any summaries or excerpts thereof), and certify in writing to that full return or

 destruction; and (c) not use the inadvertently produced material for any purpose.

 9.       NOTIFICATION OF CONFIDENTIALITY ORDER

          (A)   All persons who are authorized to receive and are to be shown Protected Material

 under this Protective Order (other than the persons listed in Paragraphs 4(B) and (C)) shall be

 provided a copy of this Protective Order prior to the receipt of Protected Material, and shall, unless

 otherwise agreed upon in writing by the Parties or authorized by a Court order, in a written and

 signed confidentiality agreement such as that annexed as the Acknowledgment and Agreement

 (Attachment A), state that he or she has read this Protective Order and agrees to be bound by its

 terms.

          (B)   The originals of such confidentiality agreements shall be maintained by the counsel

 who obtained them until the final resolution of this litigation, including appeals. Confidentiality

 agreements and the names of persons who signed them shall not be subject to discovery except

 upon agreement of the Parties or further order of the Court after application upon notice and good

 cause shown.

 10. CHALLENGES BY A PARTY TO DESIGNATION AS CONFIDENTIAL OR
 HIGHLY CONFIDENTIAL INFORMATION

          A failure to challenge the propriety of a “CONFIDENTIAL” or “HIGHLY

 CONFIDENTIAL” designation at the time the Discovery Material is produced shall not preclude

 a subsequent challenge to the designation. The designation of any Discovery Material as

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 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” is subject to challenge by any Party. The

 following procedure shall apply to any such challenge:

        (A)     Anyone challenging the designation of Protected Material must do so in good faith.

 The challenging Party shall advise counsel for the Designating Party, in writing, of such objections

 and the specific Protected Material to which each objection pertains, along with the specific

 reasons and support for such objections (the “Designation Objections”).

        (B)     Counsel for the Designating Party shall have fourteen (14) days from receipt of the

 written Designation Objections to either (i) agree in writing to de-designate documents, testimony

 or information pursuant to any or all of the Designation Objections and/or (ii) oppose the

 Designation Objections. If the Designating Party opposes the Designation Objections, they shall

 inform the challenging Party in writing, and the Parties shall meet and confer in an effort to resolve

 their dispute within seven (7) days.

        (C)     If the Parties are not able to resolve any dispute regarding the Designation

 Objections, the Designating Party shall file a motion with the Court seeking to uphold any or all

 designations on Discovery Material addressed by the Designation Objections (the "Designation

 Motion"). A Designation Motion must be filed within thirty (30) days of the Designation

 Objections to be timely. The Designating Party shall have the burden on any Designation Motion

 of establishing the applicability of its “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL”

 designation.

        (D)     In the event that the Designation Objections are neither timely agreed to nor timely

 addressed in the Designation Motion, such Discovery Material shall be de-designated in

 accordance with the Designation Objection applicable to such material.




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        (E)     Any Discovery Material that has been designated as “CONFIDENTIAL” or

 “HIGHLY CONFIDENTIAL,” and does not fall within Paragraph 10(D), shall be treated as such

 until the Court rules that it should not be so treated, and a 10-day period to move to reconsider or

 appeal that ruling has expired without a motion to reconsider or an appeal having been filed.

 11.    USE OF PROTECTED MATERIAL AT TRIAL OR HEARING

        A Party that intends to present or that anticipates that another Party may present Protected

 Material at a hearing or trial shall bring that issue to the Court’s and Parties’ attention by motion

 or in a pretrial memorandum without publicly disclosing the Protected Material. The Parties shall

 follow the procedures to file under seal as detailed in Paragraph 5. The Court may thereafter make

 such orders as are necessary to govern the use of such documents or information at trial or hearing.

 12. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
 OTHER LITIGATION

        (A)     Notification of Subpoena or Court Order. If any person subject to this Order who

 has custody of any Protected Material receives a subpoena or other process (“Subpoena”) from

 any government or other person or entity demanding production of Protected Material, the

 recipient of the Subpoena shall promptly give notice of the same to counsel for the Designating

 Party within five (5) business days, and shall furnish such counsel with a copy of the Subpoena.

 Upon receipt of this notice, the Designating Party may, in its sole discretion and at its own cost,

 move to quash or limit the Subpoena, otherwise oppose production of the Protected Material and/or

 seek to obtain confidential treatment of such Protected Material from the subpoenaing person or

 entity to the fullest extent available under law. The recipient of the Subpoena may not produce any

 Protected Material pursuant to the Subpoena prior to the date specified for production on the

 Subpoena.


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        (B)     Response to the Subpoena. Unless prohibited by law or court order, the Receiving

 Party also must promptly inform in writing the Party who caused the subpoena or order to be issued

 in the other litigation that some or all of the material covered by the subpoena or order is the subject

 of this Order. In addition, the Receiving Party must deliver a copy of this Order promptly to the

 Party in the other action that caused the subpoena to issue.

        (C)     Protective Order Sought. If the Designating Party timely seeks a protective order

 and/or an order quashing the Subpoena, the Party served with the subpoena or court order shall not

 produce any information designated in this lawsuit as “CONFIDENTIAL” or “HIGHLY

 CONFIDENTIAL” before a determination by the court from which the subpoena or order issued,

 unless the Receiving Party has obtained the Designating Party’s permission. The Receiving Party

 shall cooperate with respect to all reasonable procedures sought to be pursued by the Designating

 Party whose Protected Material may be affected. The Designating Party shall bear the burden and

 expense of seeking protection in that court of its Protected Material, and nothing in these provisions

 should be construed as authorizing or encouraging a Receiving Party in this lawsuit to disobey a

 lawful directive from another court.

        (D)     Nothing contained within this Section shall obligate any Party or person who

 receives a subpoena or other process seeking the production or disclosure of Protected Material to

 resist such production or disclosure or be construed as encouraging any Party or person not to

 comply with any court order, subpoena, or other process.

 13.    NO GREATER PROTECTION OF SPECIFIC DOCUMENTS

        Except on privilege grounds not addressed by this Order, no Party may withhold

 information from discovery on the ground that it requires confidentiality protection greater than

 that afforded by this Order unless the Party moves for an order providing such special


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 confidentiality protection, or the Parties otherwise agree subject to a meet and confer. Nothing in

 this Order prejudices a Party’s right to seek such greater protections from the Court or to seek to

 file documents under seal.

 14.    APPLICATION TO NON-PARTIES

        (A)     This Order shall apply to any Non-Party who is obligated to provide discovery, by

 deposition, production of documents or ESI, or otherwise, in this litigation, if that Non-Party

 requests the protection of this Order as to its Confidential Information or Highly Confidential

 Information.

        (B)     The existence of this Protective Order must be disclosed to any person producing

 Discovery Material who may reasonably be expected to desire Confidential or Highly Confidential

 treatment for such documents, tangible things or testimony. Any such person may designate

 Discovery Material as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” pursuant to this

 Protective Order.

 15.    GENERATIVE AI TOOLS

        Protected Material shall not be submitted to any Generative AI tool that is available to the

 public without contractual agreement or that trains upon or otherwise retains information

 submitted to it. Before submitting any Protected Material to a Generative AI tool, a Receiving

 Party shall ensure that it (or its vendor) can delete all such Protected Material from the Generative

 AI tool at the conclusion of this matter, including any derivative information. The obligations and

 restrictions of this paragraph apply even where Protected Material has been anonymized.

 16.    NON-PARTY OBJECTIONS

        Nothing contained in this Protective Order shall preclude Non-Parties from submitting

 objections for ruling by the Court.


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 17.     PRESERVATION OF RIGHTS AND PRIVILEGES

         Nothing contained in this Order shall affect the right of any Party or Non-Party to make

 any other available objection or other response to discovery requests, including, without limitation,

 interrogatories, requests for admissions, requests for production of documents, questions at a

 deposition, or any other discovery request.

 18.     COMPLIANCE NOT AN ADMISSION

         A Party's compliance with the terms of this Order shall not operate as an admission that

 any particular Discovery Material is or is not (a) confidential, (b) privileged, or (c) admissible in

 evidence at trial.

 19.     MODIFICATION OF THE ORDER

         This Order shall not prevent a Party from applying to the Court for relief therefrom, or

 from applying to the Court for further or additional protective orders, or from agreeing to

 modification of this Order, subject to the approval of the Court.

 20.     OBLIGATIONS ON CONCLUSION OF LITIGATION

         (A)     Order Continues in Force. Unless otherwise agreed or ordered, this Order shall

 remain in force after dismissal or entry of final judgment not subject to further appeal. This Court

 expressly retains jurisdiction over this action for enforcement of the provisions of this Order

 following the final resolution of this litigation. This Order is binding on all Parties to this litigation,

 on all Non-Parties who have agreed to be bound by this Order and on all others who have signed

 a confidentiality agreement in substantially the form annexed as the Acknowledgment and

 Agreement (Attachment A), and shall remain in force and effect until modified, superseded, or

 termination by consent of the Parties or by Order of the Court.



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        (B)     Within sixty (60) calendar days after final judgment in this action, including the

 exhaustion of all appeals, or within sixty (60) calendar days after dismissal pursuant to a settlement

 agreement, each Party or other person subject to the terms of this Order is under an obligation to,

 at the Producing Party’s discretion, either destroy or return to the Producing Party all Protected

 Material, and to certify to the Producing Party that this destruction or return has been done.

        (C)     Retention of Work Product and One Set of Filed Documents. Notwithstanding the

 above requirements to return or destroy documents, counsel may retain (1) attorney work product,

 including an index that refers or relates to Protected Material so long as that work product does

 not duplicate verbatim substantial portions of Confidential Information or Highly Confidential

 Information, and (2) one complete set of all documents filed with the Court including those filed

 under seal. Any retained Protected Material shall continue to be protected under this Order. An

 attorney may use his or her work product in subsequent litigation, provided that its use does not

 disclose or use Confidential Information or Highly Confidential Information.



 DATED THIS _____ Day of ________________, 2025




                                                   Honorable Eric R. Komitee
                                                   Chief Magistrate Cheryl L. Pollak
                                                   United States District Court
                                                   Eastern District of New York



 WE SO MOVE
                                And agree to abide by the terms of this Order




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                                        ATTACHMENT A

                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

                                                 :
 SARAH EDMONDSON, et al.,                        :
                                                 :
                       Plaintiffs,               :
                                                 :    CIVIL ACTION NO. 20-CV-485-EK-CLP
        v.                                       :
                                                 :
 KEITH RANIERE, et al.                           :    Acknowledgment of Understanding and
                                                 :    Agreement to Be Bound
                       Defendants.               :



        The undersigned hereby acknowledges that he/she has read the Protective Order (“Order”)

 dated ________________ in the above-captioned action and attached hereto, understands the

 terms thereof, and agrees to be bound by its terms. The undersigned submits to the jurisdiction of

 the United States District Court for the Eastern District of New York in matters relating to the

 Order and understands that the terms of the Order obligate him/her to treat materials designated as

 Confidential Information or Highly Confidential Information in accordance with the Order solely

 for the purposes of the above-captioned action, and not to disclose any such Confidential

 Information or Highly Confidential Information to any other person, firm, or concern.



        The undersigned acknowledges that violation of the Order may result in penalties for

 contempt of court.



  Name:

  Job Title:

  Employer:

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  Business Address:




  Date:
                                   Signature




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